Case 1:14-cv-00084-WTL-TAB Document1 Filed 01/17/14 Page 1 of 13 PagelD #: 1

Aimezin b. Peery

Full name(s) / San PLD ELA Bete
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Qb4s E Riverside Drivé ekg JA wt] Pil b: }

Street address or postal box number

TNOiANApels, “LN e208
City, State and zip code

(312) 9465279
Phone Number

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF INDIANA

Civil Action Noi__§ 3 24 -tyv- 008 4 WIL-TAB

(To be supplied by the Court)

Acme 7TA bcnrKice. Heeky

Plaintiff(s)

 

Full name(s) (Do not use ef al.)

Vv. : A
BinckKsToxE Gpaoup LP _/ Stephen ALLEN Schwarzaad

Hilton Weclawive Zwe Christo AreR |. NASSETTA

 

 

 

 

Defendant(s).
Full name(s) (Do not use ef al.)
CIVIL RIGHTS COMPLAINT
A. PARTIES
, ALME TTA BERT. TAICE HERKY ,am a citizen of we ‘DIANA
(Plaintiff name(s)) (State)

and presently reside at %O9 5 EE. Ki VERSIDE De} VE
(mailing address)
Case 1:14-cv-00084-WTL-TAB Document1 Filed 01/17/14 Page 2 of 13 PagelD #: 2

 

 

 

 

2. Defendant Sfefhen 4. Sih warez man is a citizen of NV. eW Verk
, (name of first defendant) (Staté)

whose address is OY S PA rk Avena oe Ne iv for K SG: Fy

3. Defendant Christoph tr f NasseT7A is a citizen of Vi RG wih

 

(name of second defendant) (State)

whose address is 7730 Jowes raned ORiVE , NCLEAN, Viki A Z2ARICR

(If more space is needed to furnish the above information for additional defendants, continue on a blank
sheet which you should label "A. PARTIES." Be sure to include each defendant's complete address and

title.)

B. JURISDICTION

1. This cause of action is brought pursuant to Di yer ™ ako -E DEA LK Ky ca en!

 

2. Jurisdiction also invoked pursuant to 28 U.S.C. § 1331. (If you wish to assert jurisdiction
under different or additional statutes, you may list them below.)

 

 

C. NATURE OF THE CASE
BRIEFLY state the background of your case.
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Case 1:14-cv-00084-WTL-TAB Document 1 Filed 01/17/14 Page 3 of 13 PagelD #: 3

C. NATURE OF THE CASE
CONT'D
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Case 1:14-cv-00084-WTL-TAB Document 1 Filed 01/17/14 Page 4 of 13 PagelD #: 4

D. CAUSE OF ACTION

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Clothes OFFENSIVE @ Clearly this is A facet of harassment:

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Case 1:14-cv-00084-WTL-TAB Document 1 Filed 01/17/14 Page 5 of 13 PagelD #: 5

D. CAUSE OF ACTION

J allege that the following of my constitutional rights, privileges, or immunities have been violated and that
the following facts form the basis of my allegations: (If more space is needed to explain any allegation or
to list additional supporting facts, continue on a blank sheet which you should label "D. CAUSE OF
ACTION.")

Claim I: Humpa iG 10U LC Heh: Ahoth Lr audlesy gave mc. A VevtAl
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Supporting Facts: (Include all facts" you consider important, wneludine eames of persons involved, places,
and dates. Describe exactly how each defendant is involved. State the facts clearly in your own words
without citing legal authority or argument.)

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Case 1:14-cv-00084-WTL-TAB Document 1 Filed 01/17/14 Page 6 of 13 PagelD #: 6

D. CAUSE OF ACTION _
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Case t14-cv-00084-WIL-TAB oiipog pent 1 Filed 01/17/14 Page 7 of 13 PagelD #: 7

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E. PREVIOUS LAWSUITS

Have you been or are you now a party to a ny other lawsuit(s) in state or federal court dealing with the same
facts involved in this action? _ Yes ~~ No.

If your answer is "Yes," describe each lawsuit. (If there is more than one lawsuit, describe the additional

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Case 1:14-cv-00084-WTL-TAB Document 1 Filed 01/17/14 Page 9 of 13 PagelD #: 9

D. CAUSE OF ACTION
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Case 114-cv-00084-WTTAT AR poRren 1 Filed 01/17/14 Page 10 of 13 PagelD #: 10

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Case 1:14-cv-00084-WTL-TAB Document1 Filed 01/17/14 Page 11 of 13 PagelD #: 11

D. CAUSE OF ACTION
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Case 1:14-cv-00084-WTL-TAB Document1 Filed 01/17/14 Page 12 of 13 PagelD #: 12

lawsuits using this same format on a blank sheet which you should label "E. PREVIOUS LAWSUITS.")

a. Parties to previous lawsuit:

Plaintiff(s):

 

Defendant(s):

 

b. Name and location of court and docket number

 

c. Disposition of lawsuit. (For example, was the case dismissed? Was it appealed?
Is it still pending?)

 

d. Issues raised:

 

e. Approximate date of filing lawsuit:

 

f. Approximate date of disposition:

 

F. REQUEST FOR RELIEF
I request the following relief:
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Original signature of attorney (if any) Plaintiff's Origingl Signature
Case 1:14-cv-00084-WTL-TAB Document1 Filed 01/17/14 Page 13 of 13 PagelD #: 13

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he/she is the plaintiffin the above action, that

he/she has read the above complaint and that the information contained in the complaint is true and
correct.

on

Executed at —Lidrbudpolis on / ‘| Lf

(location) | (date)
Mbbh BK

Plaintiff's Original Siinature

I request the Court's assistance in serving process on the defendant(s). jo es No

 

Plaintiff demands a trial by jury. i Yes No
